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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

    NELSON BELETSO,
    ,                                                        MEMORANDUM DECISION &
                                                             DISMISSAL ORDER
                              Plaintiff,
    v.                                                       Case No. 2:16-cv-01069-DN
    SAN JUAN COUNTY, a body corporate
    and politic and CARBON COUNTY, a body                    District Judge David Nuffer
    corporate and politic; RICK ELDREDGE
    San Juan County Sheriff; WILLIAM L.
    SCHULTZ, San Juan County Public
    Defender; LYLE R. ANDERSON, San Juan
    County District Court Judge,
    ,
                           Defendant.


           In an Order dated January 11, 2018,1 Plaintiff was ordered to show cause why this case

should not be dismissed for failure to prosecute. Plaintiff was directed to respond in writing no

later than January 25, 2018. Plaintiff did not respond.

           IT IS THEREFORE ORDERED that, because Plaintiff has failed to prosecute this case,

Plaintiff’s action is DISMISSED without prejudice, pursuant to DUCivR 41-2.

                    Dated January 31, 2018.

                                                       BY THE COURT:

                                                       ____________________________
                                                       David Nuffer
                                                       United States District Judge




1
    Order to Show Cause, docket no. 3, filed January 11, 2018.
